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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 JOHANNA NEGRON ADAMES, et al,                        CIVIL NO. 21-1077 (WGY)

  PLAINTIFFS

       vs.

 DORADO HEALTH, INC. d/b/a BAYAMON
 MEDICAL CENTER, et al,

    DEFENDANTS


                 JOINT MOTION TO EXCLUDE EXPERTS & REPORTS
                          NOTIFIED AFTER DEADLINE


TO THE HONORABLE COURT:

       Come now Defendant, Bayamón Medical Center Corp., Dr. Edwin Báez Montalvo, his

insurer, Puerto Rico Medical Defense Insurance Company, Dr. Francisco Dubocq Berdegüez,

and his insurer, Sindicato de Aseguradores para la Suscripción Conjunta de Seguros de

Responsabilidad Profesional Médico-Hospitalaria, hereinafter to be referred to collectively as

“Defendants”, and respectfully state, allege and pray as follows:

       1.      On May 24, 2021, the Parties filed a joint case management memorandum which

established the deadlines which had been agreed to by the plaintiffs and all other parties for

purposes of this case. (D.E. 37). The joint case management memorandum was approved by this

Honorable Court pursuant to an Order entered on June 4, 2021. (D.E. 43).

       2.      According to the Court approved case management order (D.E. 43), Plaintiffs

were required to notify all expert reports by August 2, 2021. (D.E. 37 at p.1). The deadline for

the defendants to notify their expert reports was October 4, 2021, which deadline was designed

to give defendants a period in excess of two months after the expiration of the deadline for

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plaintiffs to notify all of their expert witness reports to decide whether an expert witness was

necessary or not and if so, then to retain such expert and have them prepare an expert witness

report and to enable all expert witness discovery for both plaintiffs’ experts and defendants’

experts, including depositions to be finished before the court-ordered February 1, 2022 deadline

for conclusion of discovery.1 (D.E. 37 at p.1).

          3.   A review of the docket of the case confirms that the August 2, 2021 deadline for

plaintiffs to submit any expert reports expired, and Plaintiffs did not file any motion requesting

that the same be extended and/or that they be granted leave to submit any expert report in

addition to those expert reports which had been notified before the August 2, 2021 deadline

passed.

          4.   Notwithstanding the clarity of the aforementioned order and the corresponding

deadline, on January 17, 2022, five and a half months after expiration of the deadline for

plaintiffs to comply with their expert witness disclosures, and only two weeks before the

conclusion of all discovery, Plaintiffs notified an expert report prepared by CPA Elías Fernández

Pérez (“CPA Fernández”).

          5.   To date, plaintiffs have failed to comply with the other required expert witness

disclosures as to their proposed expert witness CPA Fernández, since they have not produced: a

curriculum vitae or otherwise disclosed CPA Fernández’s “qualifications, including a list of all

publications authored in the previous 10 years; …”, as is required by Fed.R.Civ.P.

26(a)(2)(B)(iv); a list of all other cases in which, during the previous 4 years, CPA Fernández


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 While on February 2, 2022, the parties did file a Joint Motion to Amend the Case-Management
Scheduling Order (D.E. 58), in which Defendants specifically reserved the right to file this
motion “to preclude any experts whose reports were notified beyond the established deadline …”
(D.E. 58 at p. 2, ¶5), to date the Court has not ruled on such motion and modified the deadlines
contained in the Court’s June 4, 2021 Scheduling Order/Case Management Order (D.E. 43).



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testified as an expert at trial or by deposition, as is required by Fed.R.Civ.P. 26(a)(2)(B)(v); or a

statement of the compensation to be paid CPA Fernández for his study and testimony in this

case, as is required by Fed.R.Civ.P. 26(a)(2)(B)(vi).

       6.       As to plaintiffs’ proposed expert witness psychiatrist Dr. Victor Lladó, plaintiffs

failed to comply with any of the expert witness disclosure requirements imposed by Fed.R.Civ.P.

26(a)(2)(B)(i)-(vi) prior to the August 2, 2021 deadline for such compliance (D.E. 37 at p.1), or

even within the February 1, 2022 deadline for conclusion of discovery. (D.E. 37 at p.2).

       7.      Plaintiffs notified an expert report prepared by psychiatrist Dr. Lladó on February

2, 2022, the day following the expiration of the deadline for concluding all discovery in this case.

(D.E. 37 at p.2), and half a year after the August 2, 2021 deadline for expert witness disclosures

had expired with no request by plaintiffs to extend the same.

       8.      The appearing Defendants consider that both CPA Fernández and Dr. Lladó

should be excluded as experts for Plaintiffs based on the following reasons: 1) the reports were

each notified more than five (5) and a half months after the court established deadline for the

disclosure of expert reports had expired; 2) Plaintiffs did not request leave or an extension of the

discovery deadline to submit said reports after the August 2, 2021 deadline; and 3) Plaintiffs

have failed to provide an excuse or justification for the delay in notifying the belated reports,

much less have plaintiffs met their burden of showing “good cause” to extend the deadlines for

their expert witness disclosure when plaintiffs failed to request an extension before such deadline

expired.

       9.      “The Civil Rules require litigation adversaries to disclose to each other the

identity of proposed expert witnesses and the subjects on which their testimony will be offered.

…Time is of the essence, and the disclosures must be made well in advance of trial.” Samaan v.

St. Joseph Hosp., 670 F.3d 21, 35-39 (1st Cir. 2012) (citing FED. R. CIV. P. 26(a)(2)(A)-


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(C))(circuit court affirmed district court’s exclusion of plaintiffs’ two expert witnesses on

causation for failure to timely comply with the Fed.R.Civ.P. 26(a)(2) expert witness disclosure

requirements and affirmed grant of summary judgment for defendants since plaintiffs could not

establish causation without such expert witness testimony).

       10.     Where a district court has established a disclosure date, as in this case, a party

must disclose the expert’s identity, report and the corresponding mandatory disclosures at the

ordered time. Esposito v. Home Depot U.S.A., Inc., 590 F.3d 72, 77 (1st Cir. 2009) (citing

Fed.R.Civ.P. 26(a)(2)(C)). If a party’s expert disclosure is untimely, the party is not allowed to

use that witness, relevant expert information, “or supply evidence on a motion, at a hearing, or

at a trial, unless the failure was substantially justified or is harmless.” Esposito, 590 F.3d at 77.

       11.     “Failure to comply with disclosure obligations can have severe consequences.

Rule 37 authorizes district courts to sanction noncomplying parties, and, although sanctions can

vary depending on the circumstances, '[t]he baseline rule is that “the required sanction in the

ordinary case is mandatory preclusion.”” Plaza Carolina Mall, L.P. v. Municipality of

Barceloneta, 91 F. Supp. 3d 267, 279 (D.P.R. 2015) (quoting Santiago-Diaz v. Laboratorio

Clinico Y De Referencia Del Este And Sara Lopez, M.D., 456 F.3d 272, 276 (1st Cir. 2006),

and Lohnes v. Level 3 Communications, Inc., 272 F.3d 49, 60 (1st Cir. 2001). Accord Wilson

v. Bradlees of New England, Inc., 250 F.3d 10, 20–21 (1st Cir. 2001)(it is the obligation of the

party facing sanctions for belated disclosure to show that its failure to comply with the Rule was

either justified or harmless or else suffer the near automatic exclusion under Rule 37(c)(1)’s self-

executing sanction of Rule 26 information that is not timely disclosed)(citing Heidtman v.

County of El Paso, 171 F.3d 1038, 1040 (5th Cir.1999), Salgado by Salgado v. General

Motors Corp., 150 F.3d 735, 741–742 (7th Cir.1998), and Advisory Committee Notes to the

1993 Amendments); Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th

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Cir. 2001)(Rule 37(c)(1), which was implemented in the 1993 amendments to the Rules, is a

recognized broadening of the sanctioning power which was intended to establish “a ‘self-

executing,’ ‘automatic’ sanction to ‘provide[ ] a strong inducement for disclosure of

material....’”)(citing Klonoski v. Mahlab, 156 F.3d 255, 269 (1st Cir.1998), and Fed.R.Civ.P.

37 advisory committee's note (1993)); and Gregory P. Joseph, Sanctions: The Federal Law of

Litigation Abuse, § 48(E) at p. 578 (2d edit. 1994) (Fed.R.Civ.P. 37(c)(1) “provides a self-

executing sanction for a party’s failure to disclose information required by Rule 26(a) or Rule

26(e)(1) without substantial justification. Under Rule (c)(1), the derelict party is not permitted to

use any information – including the testimony of any witness – that was not, but should have

been, disclosed pursuant to Rule 26(a) or (e)(1).”).

       12.     It is uncontested that Plaintiffs’ counsel notified Defendants of the expert witness

reports of CPA Fernández and Dr. Lladó over five and a half months, and six months,

respectively, after the deadline for making expert witness disclosures had elapsed. It follows that

Plaintiffs’ belated disclosure constitutes a Rule 26 discovery violation which warrants the

automatic exclusion of said experts.

       13.     Given the Plaintiffs’ belated disclosure, the Court has ample discretion to sanction

their noncompliance with exclusion of CPA Fernández and Dr. Lladó as expert witnesses. The

First Circuit has instructed district courts to take into account a multiplicity of pertinent factors,

such as: 1) the history of the litigation; 2) the sanctioned party’s need for the precluded evidence;

3) the sanctioned party’s justification (or lack of one) for its late disclosure; (4) the opponent-

party’s ability to overcome the late disclosures' adverse effects - e.g., the surprise and prejudice

associated with the late disclosure; and (5) the late disclosure’s impact on the district court’s

docket”. Esposito, 590 F.3d at 78 (citing Macaulay v. Anas, 321 F.3d 45, 51-52 (1st Cir. 2003),

and Santiago-Diaz, 456 F.3d at 276-277).

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       14.     The history of the litigation weighs in favor of exclusion. The belated notification

of the reports of CPA Fernández and Dr. Lladó is not the first time that Plaintiffs have

disregarded the Court’s scheduling order, and/or deadlines agreed to by the Parties. Plaintiffs

belatedly notified the report of Dr. Daniel Cohen several weeks after the deadline of August 2,

2021. (D.E. 45, 46 & 47). Although at that time, the Court denied the motion in limine to

exclude the belated report, the fact remains that notwithstanding, or perhaps as a result of, the

Court’s leniency at the time, Plaintiffs have become more brazen in their thwarting of the Court’s

scheduling order doubling down on belated notification of expert witness disclosures without

seeking the leave of Court or an extension of time to do so, or giving any legitimate reason for

blowing the expert witness disclosure deadlines by 5 and a half and 6 months respectively.

       15.     Plaintiffs’ need for the reports also tips the scale in favor of preclusion. As it

relates to the report of CPA Fernández, which projects a future loss of income, the reality is that

the case evidence shows that Negron chose to leave her employment and move to the U.S. to live

with her daughter. With regard to the report of Dr. Lladó, the deposition of plaintiff Johanna

Negrón Adames confirmed that she is very capable of describing her purported emotional

suffering as a result of the negligence alleged in the Complaint.

       16.     As it relates to the third factor, to wit, the justification (or lack of one) for its late

disclosure, this also favors preclusion. Plaintiffs have proffered no excuse or justification for the

belated disclosure. Similarly, the fourth factor, namely, the opponent-party’s ability to overcome

the late disclosures' adverse effects, likewise justifies Defendants’ request for preclusion. If the

reports had been timely notified, Defendants would have retained their own expert CPA or

economist to refute the findings of CPA Fernández; and would likewise have submitted the

plaintiff Negrón Adames to a psychiatric evaluation. The belated notification prejudices

Defendants inasmuch as the aforementioned were not done while the factual discovery was

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underway since by the passage of time following the expiration of the August 2, 2021 deadline

with plaintiffs not producing any expert witness disclosures for either CPA Fernández or Dr.

Lladó, or seeking any extension of time to do so or leave to submit such expert disclosures

notwithstanding their egregious flouting of the Court’s scheduling order, the defendants

reasonably assumed that plaintiffs had decided not to introduce any expert witness testimony on

the matters which are the subject of CPA Fernández’s or Dr. Lladó’s expert witness opinions.

There was no need for defendants to retain rebuttal expert witnesses on the issues of economic

damages or psychological/psychiatric damages where there was no expert witness testimony on

this topics disclosed by plaintiffs for the defendants to rebut.

       17.     The final factor to consider, the late disclosure’s impact on the district court’s

docket, also favor Defendants’ request for preclusion. More specifically, all discovery was to

have concluded by February 1, 2022. Although the Parties jointly filed a motion to extend the

term to conclude discovery, Defendants expressly reserved the right to move to strike any

belatedly notified expert reports; and/or retain their own experts in accounting/economics and

psychiatry, in the event that the Court allows the belated expert witnesses and their reports. It

follows that the belated notification of Plaintiffs’ additional experts, if allowed, would also

require further extension of the term to conduct discovery in order for Defendants to have

plaintiff Negrón Adames evaluated by their own psychiatric expert(s).

       18.     Based on the fact that plaintiffs made no attempt to seek to extend the expert

witness disclosure deadline before it expired on August 2, 2021, plaintiffs must demonstrate the

circumstances which could satisfy the required “good cause” under Fed. R. Civ. P.16 needed to

grant them an extension of time to comply with their expert witness disclosure obligations after

already violating the Court’s scheduling order. Fed. R. Civ. P. 16(b)’s good cause standard

governs motions to amend scheduling orders filed after the expiration of scheduling order

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deadlines. Application of the “good cause” standard has been found necessary in order to

preserve the integrity and effectiveness of Rule 16(b) scheduling orders. O'Connell v. Hyatt

Hotels of Puerto Rico, 357 F.3d 152, 154 -155 (1st Cir. 2004)(citing Sosa v. Airprint Sys., Inc.

133 F.3d 1417, 1419 (11th Cir.1998)(per curiam).

       19.     The First Circuit has recognized that in an era of burgeoning case loads and

overcrowded dockets, effective case management under Rule 16 has become an essential tool for

handling civil litigation. O'Connell, 357 F.3d at 154-155 (citing Tower Ventures, Inc. v.

Westfield, 296 F.3d 43, 45 (1st Cir. 2002)). While Rule 16 provides the district courts with many

of the devices necessary to manage its docket, for Rule 16(b) to operate effectively, “litigants

cannot be permitted to treat a scheduling order as a ‘frivolous piece of paper idly entered, which

can be cavalierly disregarded without peril.’” Id., (quoting Johnson v, Mammoth Recreations,

Inc., 975 F.2d 604, 610 (9th Cir. 1992) (internal citations and quotations omitted). Accord

Morrissey v. Webster Bank, N.A., 417 F.Supp.2d 183, 186 n. 4 (D.Mass. 2006)(Young, U.S.

District Court Chief Judge)(citing O'Connell, 357 F.3d at 155). Rule 16(b)’s “good cause”

standard emphasizes the diligence of the party seeking the amendment, and indifference by a

moving party of the sort demonstrated by the Plaintiffs here seals off this avenue of relief

irrespective of any showing of prejudice or not because such conduct is incompatible with the

showing of diligence necessary to establish good cause. Id., (quoting Rosario-Diaz v. Gonzalez,

140 F.3d 312, 315 (1st Cir. 1998).

       20.     For the reasons stated herein, it is requested that as a result of Plaintiffs’ belated,

unjustified and unexplained disclosure of their experts, and the plaintiffs’ failure to show, or

even attempt to show, good cause to extend the deadline for expert witness disclosures five and a

half months after such deadline had expired, the expert witness testimony of CPA Elias

Fernandez and psychiatrist, Dr. Victor Llado, should be excluded.

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       WHEREFORE, it is respectfully requested that the Honorable Court take notice of the

present joint motion and in consequence thereof, strike the belated experts, CPA Elias Fernández

and psychiatrist, Dr. Victor Lladó, as well as their expert witness reports.

       I HEREBY CERTIFY: That on this same date, I electronically filed the foregoing

motion with the Clerk of the Court using the CM/ECF System which will send notification to the

attorneys of record.

       RESPECTFULLY SUBMITTED: In San Juan, Puerto Rico on this 21st day of

February, 2022.

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